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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL, FRANKSPEECH, LLC, and
  MYPILLOW, INC.,

        Defendants.



            REPLY OF DEFENDANTS TO PLAINTIFF’S OMNIBUS
             RESPONSE TO DEFENDANTS’ OMNIBUS MOTION
             FOR SUMMARY JUDGMENT AND IN SUPPORT OF
               THEIR MOTION FOR SUMMARY JUDGMENT


        Defendants submit this Reply to Plaintiff’s Omnibus Response to

  Defendants’ Omnibus Motion for Summary Judgment [ECF ___] (“Plaintiff’s

  Response”) and in support of Defendants’ Omnibus Motion for Summary

  Judgment [ECF 177] (“Defendants’ Motion”).

                          I.    INTRODUCTION

        Plaintiff bears the burden of proving by clear and convincing evidence that

  statements he attributes to Defendants are materially false and that they were made




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  with actual malice. Brokers’ Choice of Amer., Inc. v. NBC Universal, Inc., 861 F.3d

  1081, 1107 (10th Cir. 2017). He has not met his burden.

        Defendants’ Motion quoted a statement made by Dr. J. Alex Halderman in a

  declaration he submitted in Curling v. Raffensperger, 493 F.Supp.3d 1264 (N.D.Ga.

  2020), prelim. injunction vac., appeal dismissed in part, 50 F.4th 1114 (11th Cir.

  2022). There, Dr. Halderman stated that

        malicious modifications to [Dominion’s] software could undermine the
        integrity of election results in multiple ways, including by changing either
        the barcodes alone or both the barcodes and the human readable text, with
        the result that the election outcomes could be changed without detection.

  Defendants’ Motion at 44, Exhibit 20, ¶ 7. Plaintiffs’ Response at page 12 n. 57

  disputes that statement with a declaration from the same Dr. Halderman which

  contradicts not only his previous statement but also the opinions of other experts

  on whom the district court relied in Curling.

        The central issue in this case previously identified by the Court is whether

  “Dr. Coomer’s actions with regard to the Dominion voting machines either

  interfered in the 2020 presidential election or they did not.” 2023 WL 2528624, *8

  (March 15, 2023). Plaintiff is required to prove with clear and convincing evidence

  that the Dominion computerized voting system, which he had a role in designing,

  did not allow for the manipulation of cast votes in the 2020 presidential election.

  Plaintiff cannot prove that Defendants’ statements were false and that they were

  made with actual malice.
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          The new declaration by Dr. Halderman, which contradicts his 2020

  declaration, cannot provide clear and convincing evidence that Defendants’

  statements were false or made with actual malice. Therefore, Defendants are

  entitled to summary judgment in their favor on all claims.1

          II.   PLAINTIFF CANNOT SATISFY HIS BURDEN OF PROOF
                  THAT DEFENDANTS’ STATEMENTS WERE FALSE.

          Dr. Halderman’s new declaration is the only evidence provided in Plaintiff’s

  Response that is offered to dispute Dr. Halderman’s previous statement quoted

  above that was submitted in his declaration to the district court in Curling in 2020.

  Defendants’ Motion at 44. Although Dr. Halderman stated in his 2020 declaration

  that “election outcomes could be changed without detection” in the 2020 election,

  he now states that such a possibility was “inherently improbable.” Ex. 12 ¶ 16.

          Whether Defendants’ statements that Plaintiff played a role in interfering

  with the outcome of the 2020 presidential election are false depends on how the

  Dominion system was designed and how it functioned in that election. Plaintiff

  failed to prove that Defendants’ statements were false by pointing to evidence in

  his Response that did not relate directly to how the Dominion voting system was

  used in the 2020 election. Plaintiff’s self-serving declaration cannot prove that

  Defendants’ statements were false. The declaration of Dr. Halderman submitted in



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      Defendants do not waive their arguments in Defendants’ Motion at 25-33.
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  this case is no substitute for a full and transparent examination of the 2020

  operation of the Dominion voting system. A failure at the August 2021 Symposium

  to establish that China interfered with the outcome of the 2020 election (Plaintiff’s

  Response at 11) would not show whether Dominion’s computerized voting system

  did or did not play a part in manipulating the outcome of the voting in that election.

  Any statements by individuals who were scheduled to make a presentation at the

  Symposium “that the information they intended to present at the Symposium was

  fraudulent” (Plaintiff’s Response at 11) have nothing to do with whether the

  Dominion computerized voting system was designed to manipulate cast votes. And

  settlements of other litigation cannot be invoked to prove that the Dominion

  system played no role in altering the outcome of the 2020 election. F.R.Evid. 408;

  CRE 408; see Southwest Nurseries, LLC v. Florists Mut. Ins., Inc., 266 F.Supp.2d

  1253, 1258-59 (D.Colo. 2003); Hartman v. Community Responsibility Ctr., Inc., 87

  P.3d 202, 206 (Colo. App. 2003).2

        III.   PLAINTIFF CANNOT PROVE THAT DEFENDANTS
               ACTED WITH ACTUAL MALICE.



  2
    This Court should also disregard the descriptions of, references to, and citations
  to newspaper and online articles included in Plaintiff’s Response, specifically,
  those on page 7 & nn. 20 and 21, and page 11& n. 46. Such articles are
  inadmissible hearsay. New England Mut. Ins. Co. v. Anderson, 888 F.2d 646, 659
  (10th Cir. 1989). They may not be considered in the context of a motion for
  summary judgment. Sec. & Exch. Comm’n v. GenAudio, Inc., 32 F.4th 902, 936
  (10th Cir. 2022).
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        In making the statements at issue, Defendants were entitled to rely on Dr.

  Halderman’s 2020 declaration and the conclusions of the United States District

  Court for the Northern District of Georgia in its October 11, 2020, decision. The

  opinion in Curling was published before the November presidential election and

  before the statements by Defendants that serve as the basis for Plaintiff’s claims.

  The Curling court’s conclusion that plaintiffs had established a substantial

  likelihood of prevailing on the merits of their claims (id., at 1335), principally on

  the testimony of their experts, provides justification for Defendants’ statements

  challenged in this action. At the time of those statements, there was considerable

  public concern that features of the Dominion computerized voting system could

  have led to the alteration of the outcome of elections where Dominion’s system

  was used. As the Curling court concluded: “The Plaintiffs’ national cybersecurity

  experts convincingly present evidence that this is not a question of ‘might this

  actually ever happen?’—but ‘when it will happen,’ especially if further protective

  measures are not taken.” Id., at 1342.

        Defendants did not act with actual malice because they could not have

  known their statements were false because Dominion had declined to give access

  to its computerized voting system to the public or the courts. See id., at 1341.

  Defendants were entitled to rely on Dr. Halderman’s conclusion that “election

  outcomes could be changed without detection” by the Dominion system in 2020.


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  Defendants’ Motion, Exhibit 20. They also knew that the Curling court had stated

  that national cybersecurity experts had concluded that interference in the outcome

  of an election as a result of the design of the Dominion computerized voting

  system was certain to occur at some point. 493 F.Supp.3d at 1342. Based on such

  information, the statements made by Lindell and FrankSpeech, LLC could not be

  considered reckless or inherently improbable.

        The vulnerabilities of the Dominion system, as the Curling opinion

  demonstrated, posed a significant concern about election integrity at the time the

  challenged statements were made that negates the conclusion that these Defendants

  knew that their statements were false or inherently improbable, or made with

  reckless disregard of whether the statements were true or false.

          IV.   PLAINTIFF CANNOT ESTABLISH THAT MYPILLOW
                IS LIABLE FOR DEFAMATAION UNDER THE LAW OF
                AGENCY OR RESPONDEAT SUPERIOR.

        A. No Speaker Acted with Actual or Apparent Authority.

        Plaintiff cannot meet its burden to establish that any speaker acted as an

  actual or an apparent agent of MyPillow. See Restatement (Third) of Agency, §

  1.02 cmt. d) (“The party asserting the existence of an agency relationship has the

  burden of establishing its existence.”). To establish agency based on actual

  authority, Plaintiff must prove that “the agent reasonably believe[d], in accordance

  with the principal's manifestations to the agent, that the principal wishe[d] the


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  agent so to act.” State Farm Mut. Auto. Ins. Co. v. Johnson, 396 P.3d 651, 656

  (Colo. 2017) (quoting Restatement (Third) Agency, § 2.01 (2006)); see also

  Restatement (Third) Agency § 1.01 (2006) (“Agency is the fiduciary relationship

  that arises when one person (a ‘principal’) manifests assent to another person (an

  ‘agent’) that the agent shall act on the principal’s behalf and subject to the

  principal’s control, and the agent manifests assent or otherwise consents to so

  act.”) (emphasis added).

        Plaintiff can point to no record evidence demonstrating that MyPillow

  manifested assent to Oltmann or Clements that they should speak on MyPillow’s

  behalf and subject to its control. The same is true with respect to Lindell. Plaintiff

  argues that Lindell had actual authority because he is the “majority shareholder

  with ultimate power” and “has absolute discretion to act on MyPillow’s behalf in

  any way that he sees fit, and no one is authorized to control his statements or

  conduct.” Response at 37. But that is not relevant to whether MyPillow as a

  corporation manifested assent to Lindell that he should speak on MyPillow’s behalf

  with respect to election-related issues. By appointing Lindell as MyPillow’s CEO,

  MyPillow’s Board of Directors authorized Lindell to conduct the business of the

  Company. But nothing in the record suggests that MyPillow’s Board of Directors

  ever authorized Lindell to make statements on behalf of the company concerning




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  topics that have nothing to do with MyPillow’s business of manufacturing and

  selling pillows and bedding products.

        Plaintiff also points out that MyPillow board members have implored

  Lindell to stop engaging in his personal, election-related activities, but that he has

  not done so. Id. at 38 and n. 151. These facts cut against Plaintiff’s position: They

  show (i) that MyPillow’s board did not manifest assent to Lindell that he should

  make election-related statements on behalf of the Company, and (ii) that Lindell’s

  statements were not made subject to the control of MyPillow’s board. Accordingly,

  based on the record, Plaintiff cannot meet its burden of establishing agency

  through actual authority.

        Plaintiff also argues that Lindell had apparent authority to make the

  statements at issue on behalf of MyPillow. Pl. Mem. at 39. Plaintiff’s argument

  fails because no record evidence shows that Lindell claimed to act on behalf of

  MyPillow when making statements about Coomer or election interference.

        To establish apparent authority, Plaintiff must show “that the principal

  consent[ed] to have the act done on his behalf by a person purporting to act for

  him.” Villalpando v. Denver Health & Hosp. Auth., 181 P.3d 357, 363 (Colo. App.

  2007) (citation omitted) (emphasis added). No record evidence suggests that

  Lindell, in making the statements at issue, purported to act for MyPillow. The




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  same is true for Oltmann and Clements. Consequently, Plaintiff cannot establish

  agency based on apparent authority.

        Moreover, the doctrine of apparent authority is simply not applicable here.

  The doctrine “protects third parties who, in good faith, rely on their belief that an

  agency relationship exists between the apparent principal and agent.” Villalpando,

  181 P.3d at 363 (citing Rush Creek Solutions, Inc. v. Ute Mountain Ute Tribe, 107

  P.3d 402, 407 (Colo. App. 2004)). This is not such a case. Here, Coomer did not

  rely on a belief that Lindell was acting as MyPillow’s agent.

        B. The Doctrine of Respondeat Superior is Inapplicable.

        Plaintiff’s respondeat superior argument is unavailing, because Lindell was

  not acting within the scope of employment when making the statements at issue.

        According to the Restatement, “[m]ost often the doctrine [of respondeat

  superior] applies to acts that . . . are the consequence of inattentiveness or poor

  judgment on the part of an employee acting within the job description.”

  Restatement (Third) of Agency § 2.04 cmt. b (2006). In contrast to other doctrines

  within the law of agency, “[m]ost cases applying [respondeat superior] involve

  negligence resulting in physical injury to a person or to property.” Id. Plaintiff’s

  attempt to apply the doctrine here should thus be viewed with skepticism.

        Under respondeat superior, an employer may be held liable only for those

  torts of an employee committed while acting within the scope of employment. See,


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   e.g., Stokes v. Denver Newspaper Agency, LLP, 159 P.3d 691, 693 (Colo. App.

   2006). The Restatement defines the scope of employment as follows:

         An employee acts within the scope of employment when performing
         work assigned by the employer or engaging in a course of conduct
         subject to the employer's control. An employee's act is not within the
         scope of employment when it occurs within an independent course of
         conduct not intended by the employee to serve any purpose of the
         employer.

   Restatement (Third) Of Agency § 7.07(2) (2006). Furthermore, “[i]f an

   employee's tortious conduct is unrelated either to work assigned by the employer

   or to a course of conduct that is subject to the employer's control, the conduct is

   outside the scope of employment.” Id., § 7.07 cmt. b.

         There is no dispute that Lindell was not performing work assigned by

   MyPillow when he made the statements at issue. No record evidence supports the

   proposition MyPillow assigned Lindell any work related to the topic of election

   interference—something that is wholly unrelated to the Company’s business of

   manufacturing and selling pillows and bedding products. Moreover, the undisputed

   facts show that when Lindell made statements about election interference and

   Coomer, Lindell was engaging in a course of personal conduct that was not subject

   to MyPillow’s control. As Plaintiff points out, MyPillow board members implored

   Lindell to stop his personal, election-related activities, but he did not. Pl. Mem. at

   38 and n. 151.



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         Because Lindell’s statements were not made when performing work

   assigned by MyPillow or engaging in a course of conduct subject to MyPillow’s

   control, Lindell’s alleged torts were not committed within the scope of

   employment. Consequently, MyPillow cannot be held liable under the doctrine of

   respondeat superior.

                                           * * *

         Based on the evidence in the record, Plaintiff cannot meet its burden to

   prove the existence of actual or apparent agency, and Plaintiff cannot establish that

   Lindell was acting in the scope of employment when he made the statements at

   issue concerning his personal and political opinions. Accordingly, MyPillow

   cannot be held liable for defamation, and Plaintiff’s claims against MyPillow

   should be dismissed.

            V.     SUMMARY JUDGMENT SHOULD BE GRANTED
                     AGAINST PLAINTIFF ON HIS CLAIMS OF
                    INTENTIONAL INFLICTION OF EMOTIONAL
                       HARM AND CIVIL CONSPIRACY.

         The facts related to Plaintiff’s defamation claim are also the basis for his

   claims of intentional infliction of emotional harm and civil conspiracy. Plaintiff’s

   Response at 47. Because Plaintiff cannot meet his burden of proof on those claims

   for the same reasons that he cannot prove his defamation claim, summary

   judgment is warranted against Plaintiff on the remaining two counts on the basis of



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   the arguments of Lindell and FrankSpeech, LLC regarding Plaintiff’s defamation

   claim in sections II and III, supra.

            V.     SUMMARY JUDGMENT SHOULD BE GRANTED
                     AGAINST PLAINTIFF ON HIS CLAIMS OF
                    INTENTIONAL INFLICTION OF EMOTIONAL
                       HARM AND CIVIL CONSPIRACY.

         The facts related to Plaintiff’s defamation claim are also the basis for his

   claims of intentional infliction of emotional harm and civil conspiracy. Plaintiff’s

   Response at 47. Because Plaintiff cannot meet his burden of proof on those claims

   for the same reasons that he cannot prove his defamation claim, summary

   judgment is warranted against Plaintiff on the remaining two counts on the basis of

   the arguments of Lindell and FrankSpeech, LLC regarding Plaintiff’s defamation

   claim in sections II and III, supra.

                                    CONCLUSION

         Defendants Michael J. Lindell, FrankSpeech, LLC, and MyPillow, Inc.

   request that the Court enter an Order granting their Motion for Summary Judgment

   and dismissing each of Plaintiff’s causes of action.

                                                  MICHAEL J. LINDELL
                                                  FRANKSPEECH, LLC
                                                  MYPILLOW, INC.




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                             CERTIFICATE OF SERVICE

         I hereby certify that on January 16, 2024 I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system which will send notification

   of such filing to the following email addresses:

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